Case 3:18-bk-31693       Doc 11    Filed 06/14/18 Entered 06/14/18 12:40:01            Desc Main
                                  Document      Page 1 of 25


                         UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF OHIO
                                AT DAYTON DIVISION

IN RE:                                             IN PROCEEDINGS UNDER CHAPTER 7

JAMES R BRIDGMAN                                               CASE NO: 18-31693

        DEBTOR                                           JUDGE: GUY R. HUMPHREY



     MOTION OF NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER FOR RELIEF
       FROM STAY FOR REAL PROPERTY LOCATED AT 421 ALBERT ROAD,
                         BROOKVILLE, OH 45309


        Nationstar Mortgage LLC d/b/a Mr. Cooper (the "Creditor") in this proceeding under

Chapter 7 of the Bankruptcy Code, and pursuant to 11 U.S.C. §362(d) of the Bankruptcy Code,

Rules 4001, 9013 and 9014 of the Bankruptcy Rules and Local Bankruptcy Rule 4001-1,

respectfully moves this Court for relief from the automatic stay imposed by 11 U.S.C. §362(a) in

order to proceed with a state court proceeding to foreclose on the property located at 421 Albert

Road, Brookville, OH 45309. The grounds upon which this Motion is made are more fully set

forth in the attached Memorandum in Support.

                               MEMORANDUM IN SUPPORT

1.      The Court has jurisdiction over this matter under 28 U.S.C. §§157 and 1334. This is a

        core proceeding under 28 U.S.C. §157(b)(2). The venue of this case and this Motion is

        proper under 28 U.S.C. §§1408 and 1409.

2.      On April 24, 2009, James R Bridgman (“Debtor”) obtained a loan from Envoy Mortgage,

        LTD, in the amount of $137,019.00. Such loan was evidenced by a Promissory Note

        dated April 24, 2009 (the “Note”), a copy of which is attached as Exhibit A.
Case 3:18-bk-31693     Doc 11     Filed 06/14/18 Entered 06/14/18 12:40:01             Desc Main
                                 Document      Page 2 of 25


3.    Nationstar Mortgage LLC d/b/a Mr. Cooper directly or through an agent has possession

      of the promissory note and held the note at the time of the Movant's Motion for Relief

      from Stay. The promissory note has been duly indorsed.

4.    To secure payment of the Note and performance of the other terms contained in it, the

      Debtor, James R Bridgman and Deborah Lynn Bridgman, executed a Mortgage dated

      April 24, 2009 (the “Mortgage”). The Mortgage granted a lien on the real property (the

      “Property”) owned by the Debtor, James R Bridgman and Deborah Lynn Bridgman

      located at 421 Albert Road, Brookville, OH 45309 and more fully described in the

      Mortgage.

5.    The lien created by the Mortgage was duly perfected by the recording of the Mortgage in

      the office of the Montgomery County Recorder on October 14, 2009. A copy of the

      Mortgage is attached as Exhibit B. The lien is the first and best lien on the property.

6.    The Note and Mortgage are currently held by Nationstar Mortgage LLC d/b/a Mr.

      Cooper.

7.    The value of the Property is $73,520.00, per the Montgomery County Auditor.

8.    As of the date of this Motion, there is currently due and owing on the Note, the

      outstanding principal balance of $100,672.72, plus interest accruing thereon at the rate of

      4% per annum from February 1, 2018.

9.    Other parties known to have an interest in the Property are as follows:

             a. Montgomery County Treasurer, for tax purposes.

10.   The Creditor is entitled to relief from the automatic stay under 11 U.S.C. § 362(d)(1)

      and/or 362(d)(2) for these reason(s):

             a.    Per the Note and Mortgage, payments are applied to the last month due.
             Based upon the foregoing, Debtor has failed to make periodic payments to
Case 3:18-bk-31693       Doc 11    Filed 06/14/18 Entered 06/14/18 12:40:01              Desc Main
                                  Document      Page 3 of 25


               Creditor since March 1, 2018, which unpaid payments are in the aggregate
               amount of $3,126.60 through June 5, 2018.

11.    Creditor has completed the worksheet attached as Exhibit F.

12.    This Motion conforms to the standard form adopted in this District except as follows:

               Clarification of language in Paragraph 3

       WHEREFORE, Creditor prays for an Order from the Court granting Creditor relief from

the automatic stay of 11 U.S.C. §362 of the Bankruptcy Code to permit Creditor to proceed

under law and for such other and further relief to which the Creditor may be entitled.

                                             Respectfully Submitted,

                                             /s/ Chris E. Manolis
                                             Shapiro, Van Ess, Phillips & Barragate, LLP
                                             Chris E. Manolis (OH-0076197)
                                             4805 Montgomery Road, Suite 320
                                             Norwood, OH 45212
                                             Phone: (513) 396-8100
                                             Fax: (847) 627-8805
                                             Email: cmanolis@logs.com

Attached are redacted copies of any documents that support the claim, such as promissory
notes, purchase order, invoices, itemized statements of running accounts, contracts,
judgments, mortgages, and security agreements in support of right to seek a lift of the
automatic stay and foreclose if necessary.
Case 3:18-bk-31693       Doc 11    Filed 06/14/18 Entered 06/14/18 12:40:01            Desc Main
                                  Document      Page 4 of 25


                                          ADDENDUM

Nationstar Mortgage LLC d/b/a Mr. Cooper services the loan on the Property referenced in this
Motion. In the event the automatic stay in this case is modified, this case dismisses, and/or the
Debtor obtains a discharge and a foreclosure action is commenced on the mortgaged property,
the foreclosure will be conducted in the name of Movant. Movant, directly or through an agent,
has possession of the promissory note. Movant is the original mortgagee or beneficiary or the
assignee of the Mortgage.

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Case 3:18-bk-31693         Doc 11    Filed 06/14/18 Entered 06/14/18 12:40:01        Desc Main
                                    Document      Page 5 of 25


                                CERTIFICATE OF SERVICE

        I certify that on the 14th day of June, 2018, copies of the foregoing were served by
mailing the same by ordinary U.S. Mail, postage prepaid, and/or electronically as permitted by
local rule, to the persons listed below.

Served by Regular U.S. Mail

James R Bridgman
425 Arlington Rd.
Apt. 3
Brookville, OH 45309

Deborah Lynn Bridgman
421 Albert Road
Brookville, OH 45309

Electronic Mail Notice List

Paul H Spaeth
7925 Paragon Road
Suite 101
Dayton, OH 45459

Donald F. Harker, III
2135 Miamisburg-Centerville Road
Centerville, OH 45459

Office of the US Trustee
170 North High Street
Suite 200
Columbus, OH 43215

                                            /s/ Chris E. Manolis
                                            Shapiro, Van Ess, Phillips & Barragate, LLP
                                            Chris E. Manolis (OH-0076197)
                                            4805 Montgomery Road, Suite 320
                                            Norwood, OH 45212
                                            Phone: (513) 396-8100
                                            Fax: (847) 627-8805
                                            Email: cmanolis@logs.com
Case 3:18-bk-31693            Doc 11      Filed 06/14/18 Entered 06/14/18 12:40:01                Desc Main
                                         Document      Page 6 of 25


                              UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF OHIO
                                      DAYTON DIVISION

IN RE:                                                        IN PROCEEDINGS UNDER CHAPTER 7

JAMES R BRIDGMAN                                                             CASE NO: 18-31693

         Debtor                                                      JUDGE: GUY R. HUMPHREY

______________________________________________________________________________

                RELIEF FROM STAY/ADEQUATE PROTECTION
                 EXHIBIT AND WORKSHEET – REAL ESTATE
                     (For use as required by LBR 4001-1(a)(1))
______________________________________________________________________________
Real property address which is the subject of this motion:
421 Albert Road
Brookville, OH 45309

DEBT/VALUE REPRESENTATIONS:

    Total indebtedness of the debtor(s) at the time of filing the motion
    for relief from stay (not to be relied upon as a payoff quotation)           $          102,630.56
    Movant's estimated market value of the real property                         $           73,520.00
    Source of the estimated valuation Montgomery County Auditor

STATEMENT OF ARREARAGE:

    (1) As of petition filing date:                                              $               2,315.86
    Amounts paid after the date of filing to be applied to the prepetition
    default:                                                                     $                  0.00
    (2) Postpetition:                                                            $                810.74

    (3) Monthly payment amount:                                                  $                810.74

    (4) Date of Last Payment                 February 9, 2018
    (5) Amount of Last Payment                                                   $                752.56

# of payments due postpetition                  1      (through payment due June 1, 2018)

# of payments received postpetition             0

# of payments in default postpetition           1

Total amount of postpetition payments currently in default:                      $                      810.74
    + Postpetition late charges                                                  $
    + Other charges                                                              $
Case 3:18-bk-31693           Doc 11       Filed 06/14/18 Entered 06/14/18 12:40:01                     Desc Main
                                         Document      Page 7 of 25



    Foreclosure title work           $                0.00

    Filing fee                       $                0.00

    Skip trace                       $                0.00

    Document acquisition costs       $                0.00

    Service Process server           $                0.00

    Escrow Shortage

        Hazard Insurance             $                0.00   Dates:

        Taxes                        $                0.00   Dates:

    Appraisal                        $                0.00

    Property Inspection              $                0.00

=   Total Postpetition Arrearage                                                 $                            810.74


OTHER LOAN INFORMATION:

    Date of the Loan                April 24, 2009
    Current Interest Rate           4%

Money paid to and held by the mortgagee but not applied to the loan $0.00; if held in the form of checks, balance of
such checks $0.00, and identity of holder of the checks n/a.
Case 3:18-bk-31693      Doc 11     Filed 06/14/18 Entered 06/14/18 12:40:01         Desc Main
                                  Document      Page 8 of 25


REQUIRED ATTACHMENTS TO MOTION:

       (a) In a Chapter 13 case, a postpetition payment history.

      (b) In all cases, copies of documents which indicate movant’s interest in the subject
          property. For purposes of example only, a complete and legible copy of the
          promissory note or other debt instrument together with a complete and legible copy
          of the real estate mortgage should be attached. The mortgage should bear date stamps
          reflecting the recording date together with recording references reflecting the
          recordation of the mortgage with the appropriate county official. If the subject
          property is registered land, movant shall attach a copy of the registered land
          certificate or other documentation reflecting that the mortgage was memorialized as a
          lien on the registered land certificate.



This Exhibit and Worksheet was prepared by:


                                     Respectfully Submitted,

                                     /s/ Chris E. Manolis
                                     Shapiro, Van Ess, Phillips & Barragate, LLP
                                     Chris E. Manolis (OH-0076197)
                                     4805 Montgomery Road, Suite 320
                                     Norwood, OH 45212
                                     Phone: (513) 396-8100
                                     Fax: (847) 627-8805
                                     Email: cmanolis@logs.com
Case 3:18-bk-31693   Doc 11    Filed 06/14/18 Entered 06/14/18 12:40:01   Desc Main
    EXHIBIT A                 Document      Page 9 of 25
Case 3:18-bk-31693   Doc 11    Filed 06/14/18 Entered 06/14/18 12:40:01   Desc Main
                              Document     Page 10 of 25
Case 3:18-bk-31693
           EXHIBIT DocB
                      11    Filed 06/14/18 Entered 06/14/18 12:40:01   Desc Main
                           Document     Page 11 of 25
Case 3:18-bk-31693   Doc 11    Filed 06/14/18 Entered 06/14/18 12:40:01   Desc Main
                              Document     Page 12 of 25
Case 3:18-bk-31693   Doc 11    Filed 06/14/18 Entered 06/14/18 12:40:01   Desc Main
                              Document     Page 13 of 25
Case 3:18-bk-31693   Doc 11    Filed 06/14/18 Entered 06/14/18 12:40:01   Desc Main
                              Document     Page 14 of 25
Case 3:18-bk-31693   Doc 11    Filed 06/14/18 Entered 06/14/18 12:40:01   Desc Main
                              Document     Page 15 of 25
Case 3:18-bk-31693   Doc 11    Filed 06/14/18 Entered 06/14/18 12:40:01   Desc Main
                              Document     Page 16 of 25
Case 3:18-bk-31693   Doc 11    Filed 06/14/18 Entered 06/14/18 12:40:01   Desc Main
                              Document     Page 17 of 25
Case 3:18-bk-31693   Doc 11    Filed 06/14/18 Entered 06/14/18 12:40:01   Desc Main
                              Document     Page 18 of 25
Case 3:18-bk-31693   Doc 11    Filed 06/14/18 Entered 06/14/18 12:40:01   Desc Main
                              Document     Page 19 of 25
Case 3:18-bk-31693   Doc 11    Filed 06/14/18 Entered 06/14/18 12:40:01   Desc Main
                              Document     Page 20 of 25
Case 3:18-bk-31693   Doc 11    Filed 06/14/18 Entered 06/14/18 12:40:01   Desc Main
                              Document     Page 21 of 25
             Case 3:18-bk-31693          Doc 11      Filed 06/14/18 Entered 06/14/18 12:40:01                   Desc Main

                     *201527801382*                 Document     Page 22 of 25


DATE:         DOCUMENT ID    DESCRIPTION                                     FILING         EXPED    PENALTY      CERT       COPY
10/05/2015    201527801382   FICTITIOUS NAME/ORIGINAL FILING                  39.00         100.00        .00       .00        .00
                             (NFO)

                                                                 Receipt
                                               This is not a bill. Please do not remit payment.




                  CORPORATION SERVICE COMPANY
                  DEANNE E. SCHAUSEIL
                  50 W. BROAD STREET
                  COLUMBUS, OH 43215




                                     S T A T E OF O H I O
                                              CERTIFICATE
                                       Ohio Secretary of State, Jon Husted
                                                                 2434003
                  It is hereby certified that the Secretary of State of Ohio has custody of the business records for
                                                             MR. COOPER
                                  and, that said business records show the filing and recording of:
       Document(s):                                                                                        Document No(s):
       FICTITIOUS NAME/ORIGINAL FILING                                                                     201527801382
                                                          Effective Date: 10/02/2015

         Expiration Date:           10/02/2020                                   NATIONSTAR MORTGAGE LLC
                                                                                 8950 CYPRESS WATERS BLVD
                                                                                 DALLAS, TX 75019




                                                                                 Witness my hand and the seal of the
                                                                                 Secretary of State at Columbus, Ohio
                                                                                 this 5th day of October, A.D. 2015.




                         United States of America
                                State of Ohio
                       Office of the Secretary of State                        Ohio Secretary of State
Case 3:18-bk-31693   Doc 11    Filed 06/14/18 Entered 06/14/18 12:40:01   Desc Main
                              Document     Page 23 of 25
Case 3:18-bk-31693   Doc 11    Filed 06/14/18 Entered 06/14/18 12:40:01   Desc Main
                              Document     Page 24 of 25
Case 3:18-bk-31693   Doc 11    Filed 06/14/18 Entered 06/14/18 12:40:01   Desc Main
                              Document     Page 25 of 25
